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 AO 472 (Rev. I 1/I6) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT                                                   COURT

                                                                      for the
                                                           Central District of California              NOV 16;~

                    United States of America                            )
                               v.                                       )
                                                                                Case No.     — ~ `~~
   ~)          ~           ~~~                                           ~
                              Defends


                                        ORDER OF DETENTION PENDING TRIAL

                                                         Part I -Eligibility for Detention

      Upon the

               Q    otion ofthe Government attorney pursuant to 18 U.S.C. § 3142(fl(]), or
                   Motion ofthe Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the
                                                                                                    Court's findings offact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made
                                                                                                    at the hearing.
                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  ~ A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(previous violaror): There
                                                                                                   is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety
                                                                                                    of any other person
    and the community because the following conditions have been met:
        O (1)the defendant is charged with one of the following crimes described in 18
                                                                                           U.S.C. § 3142(fl(1):
             ~(a)a crime of violence, a violation of 18 U.S.C. § l 591, or an offense listed in 18 U.S.C.
                § 2332b(g)(5)(B)for which a maximum term of imprisonment of ]0 years or more is prescribe
                                                                                                                  d; or
             Q(b)an offense for which the maximum sentence is life imprisonment or death; or
             ~(c)an offense for which a maximum term of imprisonment of 10 years or more is prescribe
                                                                                                              d in the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and
                                                                                                             Export Act
              (21 U.S.C. §§ 95]-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70
                                                                                                      508); or
             O(d)any felony if such person has been convicted oftwo or more offenses
                                                                                          described in subparagraphs
              (a)through (c)ofthis paragraph, or two or more State or local offenses that would
                                                                                                     have been offenses
               described in subparagraphs(a)through (c) of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination ofsuch offenses; or
             ~(e)any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined in
                                                                                                        18 U.S.C. § 921);
              (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250;
                                                                                                        and
       O (2)the defendant has previously been convicted of a Federal offense that is describe
                                                                                                 d in l8 U.S.C.
          § 3]420(1), or of a State or local offense that would have been such an offense if a circumst
                                                                                                           ance giving rise
          to Federal jurisdiction had existed; and
       Q (3)the offense described in paragraph (2)above for which the defendant has been
                                                                                               convicted was
          committed while the defendant was on release pending trial for a Federal, State, or local
                                                                                                      offense; and
       O (4)a period of not more than five years has elapsed since the date of convictio
                                                                                          n, or the release ofthe
          defendant from imprisonment, for the offense described in paragraph (2)above, whichever is later.


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     O B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3)(narcorics,frrearm, ocher o,~enses): There is a
       rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
       defendant as required and the safety of the community because there is probable cause to believe that the defendant
       committed one or more ofthe following offenses:
           O (1)an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
              Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
              U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
           D (2)an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           O (3)an offense listed in 18 U.S.C. § 2332b(g)(5)(B)for which a maximum term of imprisonment of 10 years
              or more is prescribed;
           ~(4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597) for which a maximum term
                                                                                                                        of
              imprisonment of 20 years or more is prescribed; or
           Q (5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
              2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
              2260, 2421, 2422, 2423, or 2425.

    Q C. Conclusions Regarding Applicability of Any Presumption Established Above

             O The defendant has not introduced sufficient evidence to rebut the presumption above, and detention
                                                                                                                      is
                ordered on that basis. (Parr 11~ need nor be ~omplered)

                OR

            ~ The defendant has presented evidence sufficient to rebut the presumption, but after consideri
                                                                                                            ng the
              presumption and the other factors discussed below, detention is warranted.

                                   Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented
                                                                                                  at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Governme
                                                                                             nt has proven:

      By clear and convincing evidence that no condition or combination of condition
                                                                                     s of release will reasonably assure
      th safety of any other person and the community.

      By a preponderance of evidence that no condition or combination of condition
                                                                                   s of release will reasonably assure
       e defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention
                                                                                           include the following:

      Q Weight of evidence against the defendant is strong
      Q Subject to lengthy period of incarceration if convicted
      O Prior criminal history
      ~ Participation in criminal activity while on probation, parole, or supervisi
                                                                                    on
      ~ History of violence or use of weapons
      O History of alcohol or substance abuse
      Q Lack of stable employment
      O Lack of stable residence
      ~ Lack offinancially responsible sureties



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           ~k of significant community or family ties to this district
           Sri'gmficant family or other ties outside the United States
           ~k of legal status in the United States U~ ~,c~ ~OD ~ '~        ~`      ~~ ~~~~
           Subject to removal or deportation after serving any period of incarceration
           Prior failure to appear in court as ordered
         ~ Pr' attempts) to evade law enforcement
             se of aliases) or false documents
         Q ackground information unknown or unverified
         Q Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:


              -~~~~~~~~ ~                                  (,JL~~~~~~~                              ~~
                                                                                                      ~
                 ~~~~




                                                Part IV -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to
                                                                          the Attorney General's designated representative for
confinement in a corrections facility separate, to the extent practicable,
                                                                           from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded
                                                                       a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request
                                                                             o n attorney for the Government, the person in
charge ofthe corrections facility must deliver the defendant to a United
                                                                            S es Marshal for the purpose of appearance in
connection with a court proceeding.

Date:         ~,(
                                                                            United fates Magistrate Judge




                                                                                                                    Page 3 of 3
